       Case 2:19-cv-01156-DMG-PJW Document 11 Filed 02/21/19 Page 1 of 1 Page ID #:61

                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
Paramount Pictures Corp. et al                                      CASE NUMBER

                                                                                   2:19-cv-01156 DSF(PJWx)
                                                    PLAINTIFF(S)
                              v.
Omniverse One World Television, Inc. et al                                  ORDER RE TRANSFER PURSUANT
                                                                              TO GENERAL ORDER 16-05
                                                                                  (RELATED CASES)
                                                   DEFENDANT(S).

                                                            CONSENT
                                            TRANSFER ORDER
      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant to General Order 16-05.

                                               DECLINED
                      Date                                         United States District Judge

                                                         DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:
  The cases are related only in a superficial sense. There are no common events.




             February 21, 2019
                   Date                                            United
                                                                    nit
                                                                     ited States District
                                                                                 D strict Judge
                                                                                 Di       Jud
                                                                                            dggee

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case      2:17-cv-07496 MWF(ASx) and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
      C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                                        to Magistrate Judge                                      .
                                                   TRANSFER ORDER
         On all documents subsequently filed in this case, please substitute the initials                  after the case number
                                                               DECLINED
in place of the initials of the prior judge, so that the case number will read                                   . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (10/16)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 16-05 (Related Cases)
